                                                                               (COURT USE ONLY)
             USDC IN/ND case 1:20-cv-00037-HAB-SLC document 8 filed 01/22/20 page 1 of 7
                                                                                            RECEIPT NO.




                                             UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF INDIANA



            LIGTEL COMMUNICATIONS, INC.

                         V.                                         Cause No.                      1:20-cv-00037

           BAICELLS TECHNOLOGIES INC. et al




                       MOTION FOR ADMISSION TO PRACTICE PRO HAC VICE ON BEHALF OF

                                                    LIGTEL COMMUNICATIONS, INC.

                                                           Party(s) Represented


Prefix (check one) lx Mr.        T Ms.     F Mrs.

                            Giliett              First Nanne:               Gabriel            Middle Name/Initial           K.
Last Name:

Generation (Sr, Jr, etc):



Firm Name:                                                       JennerSi Block LLP


Street Address:                            353 N Clark Street                              Suite/Room No.:

City:                   Chicago                        State:                     IL               Zip:              60654


Office Telephone No.:                     (312) 222-9350                     Fax No.:

E-Mail Address:                                                    GGillett(S)jenner.com




EDUCATION:
                The George Washington University                                   BA             Year Completed:            2005
College:                                                   Degree:

                                         Fordham University Law School                              Year Graduated:           2011
Law School:

Other Post-Graduate Schooling:


                                                            Page 1 of 3
          USDCTO
LIST EACH STATE IN/ND case
                  WHICH    1:20-cv-00037-HAB-SLC
                         YOU                     document
                              ARE ADMITTED TO PRACTICE LAW:8 filed 01/22/20 page 2 of 7
       STATE                    YEAR ADMITTED                      CURRENT STATUS                     BAR I.D. NUMBER

      llinois                         2016                               Active                           6328233

     New York                         2012                               Active                           5011705




Please include a current certificate of good standing (fewer than 60 days old) from each jurisdiction listed above in
order to satisfy the requirements articulated in Local Rule 83-5(a){2){C)(ii).
LIST EACH FEDERAL COURT TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
                           COURT                                  YEAR ADMITTED                 CURRENT STATUS

                         See attachment




If admitted to the U.S. Supreme Court, please provide a current certificate of good standing (fewer than 60 days
old.) Otherwise, no certificate of good standing is needed for any other Federal Court listed above.



Have you ever been publicly disciplined by any other court in the United States or its territories, commonwealths,
or possessions?      f" Yes (If yes, please attach an explanation)       ix No



 Applicant: I,                        Gabriel K. Gillett                   , do solemnly swear or affirm that:

                I am a member in good standing of the bar of every Jurisdiction to which I am admitted to practice.

                I have read and will abide by the Local Rules of the United States District Court for the Northern
                District of Indiana, including Appendix B: Standards for Professional Conduct Within the Seventh
                Federal Judicial Circuit.

                I declare under penalty of perjury that the statements in this application are true       correct.


                Dated:         January 22,2020

                                                                                    Signature of Applicant



                                                           Page 2 of 3
           USDC IN/ND case 1:20-cv-00037-HAB-SLC document 8 filed 01/22/20 page 3 of 7



Considered and approved.

SO ORDERED.


Dated:
                                                             Judge, U. S. District Court




                                             Page 3 of 3

                                                                                    Revised 06/05/2013
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 8 filed 01/22/20 page 4 of 7


                                        Attachment
LIST EACH FEDERAL COURT TO WHICH YOU ARE ADMITTED TO PRACTICE LAW:
Court                                                Year Admitted   Current Status
U.S. Court of Appeals, Eighth Circuit                2019            Active
U.S. Court of Appeals, Fourth Circuit                2017            Active
U.S. Court of Appeals, Ninth Circuit                 2015            Active
U.S. Court of Appeals, Second Circuit                2015            Active
U.S. Court of Appeals, Seventh Circuit               2016            Active
U.S. Court of Appeals, Sixth Circuit                 2016            Active
U.S. Court of Appeals, Third Circuit                 2014            Active
U.S. District Court, Northern District of Illinois   2018            Active
U.S. District Court, Northern District of New York   2014            Active
U.S. District Court, Southern District of New York   2014            Active
U.S. Supreme Court                                   2016            Active
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                     Supreme Court of the United States
                                OFFICE OF THE CLERK
                               WASHINGTON, D.C. 20543




                     GABRIEL KALMAN GILLETT
                        OF NEW YORK, NY
was duly admitted and qualified as an Attorney and Counselor for the Supreme Court of the United States

on the eighth day of August, in the year two thousand and sixteen, and is now a member of the Bar of

this Court in good standing.

                                                          In testimony, whereof, as Clerk of said

                                                          Court, I have hereunto set my hand and

                                                          affixed the seal of said Court, at the City

                                                          of Washington, this seventeenth day of

                                                          January 2020.


                                                                      Scott S. Harris
                                                                   Clerk of the Supreme Court
                                                                       of the United States

                                                     By


                                                                Assistant Admissions Officer
       USDC IN/ND case 1:20-cv-00037-HAB-SLC document 8 filed 01/22/20 page 6 of 7


                     Appellate JBibtsfion of tFie Supreme Court
                          of tje ^tate of i^eto |?ork
                                 STutrinal department

           31, ^usfanna 3^oja^, Clerk of tlje Appellate dibisfion of
 tfje Supreme Court of tjie ^tate of i^elo ^ork, Jfirsft 31ukictal
 department, certifp tfiat

                Gabriel Kalman Gillett
 inasf bulp licens^eb anb abmitteb to practice asf an ^ttornep anb
 Counsiellor at i.aki in all tl)e courts; of tlie ^tate of J5eki ^ork on
 ^pnl 9, 2012, kas; bulp taken anb s;ubs;crtbeb tlje oatk of office
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 Counsiellors; at Halo on file In mv office, kas; bulp reglsitereb loltk tke
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                          31n 1^ltnes;s; tlTk^teof, 31 kake kereunto s;et mp
                             kanb anb afflxeb tke s;eal of tkls; court on
                                                       16, 2020

                                                          JU


                                           Clerk of tke Court
1704
USDC IN/ND case 1:20-cv-00037-HAB-SLC document 8 filed 01/22/20 page 7 of 7
